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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                  4:17CR3017

      vs.
                                                                   ORDER
WILLIAM J. ALLEN,

                     Defendant.

      The court has orally examined the financial status of the defendant in support of
Defendant’s request for appointed counsel. The court finds the above-named defendant is
currently eligible for appointment of counsel pursuant to the Criminal Justice Act, 18
U.S.C. §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

      Accordingly,

      IT IS ORDERED:
      1)     Korey Reiman is appointed as attorney of record for the above-named
             defendant in this matter and shall forthwith file an appearance in this
             matter. The Federal Public Defender’s Office shall forthwith provide
             counsel with a draft appointment order (CJA Form 20) bearing the name
             and other identifying information of the CJA Panel attorney identified in
             accordance with the Criminal Justice Act Plan for this district.

      2)     The Clerk shall provide a copy of this order to the Federal Public Defender
             for the District of Nebraska and to the appointed attorney.

      March 3, 2017.
                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
